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UNITED STATES OF AMERICA

FEDERAL TRADE COMMISSION
WASHINGTON, D.C. 20580

Division of Advertising Practices

March 2, 1994

BY MESSENGER

Judith L. Oldham, Esquire
Collier, Shannon, Rill & Scott
3050 K Street, N.W.

Suite 400

Washington, D.C. 20007

Dear us Cot Sham:

Enclosed please find a copy of a revised draft complaint and
order concerning the R.J. Reynolds Tobacco Company’s "Joe Camel"
advertising campaign for Camel cigarettes. These documents have
been circulated to the Commission for consideration.

If you have questions, please feel free to call me.

Sincerely,

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! tL

“ Judith P. Wilkenfeld
Assistant Director

Enclosure

DEPOSITION
EXHIBIT

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Gd0-02 OF

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UNITED STATES OF AMERICA
SEFORE FEDERAL TRADE COMMISSION

In the Matter of

R.J. REYNOLDS TOBACCO COMPANY,
a corporation.

DOCKET NO.

ee ee

COMPLAINT

The Federal Trade Commission, having reason to believe
that R.g. Reynolds Tobacco Company, a corporation
("respondent"), has violated the provisions of the Federal
Trade Commission Act, and it appearing to the Commission that a
proceeding by it in respect thereof would be in the public
interest, alleges:

PARAGRAPH ONE: Respondent R.J. Reynolds Tobacco Company
is a New Jersey corporation, with its office and principal
place of business located at 401 North Main Street, P.O.B. 2959
Winston-Salem, North Carolina 27102.

a

PARAGRAPH TWO: Respondent has advertised, promoted,
offered for sale, sold, and distributed cigarettes and other
tobacco products.

PARAGRAPH THREE: The acts or practices of respondent
alleged in this complaint have been in or affecting commerce,
as "commerce" is defined in Section 4 of the Federal Trade
Commission Act.

PARAGRAPH FOUR: Beginning in at least 1988, respondent
has disseminated or has caused to be disseminated
advertisements and promotions for its Camel brand cigarettes,
including, Dut not necessarily limited to, the attached
exhibits A through E. The ads and promotions have as their
central theme a cartoon camel sometimes referred to as "Old
Joe," “Smooth Character" or as "Joe Camel" (hereinafter "Joe
Camel"), and other similar cartoon characters.
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PARAGRAPH FIVE: R.J. Reynolds designed its advertising
and promotionai campaign utilizing Joe Camel with a targer
audience described as “young adult smokers" aged 18 and older;
18 is the age at which, in most states, cigarettes may lawfully
be sold to consumers.

PARAGRAPH SIX: R.J. Reynolds’ Joe Camel advertising and
promotional campaign for Camel cigarettes was successful in
appealing to many children and adolescents under the age of 18
and induced many of them, who had not previously smoked, to
begin smoking or significantly increased the risk that they
would do so.

PARAGRAPH SEVEN: In fact, since the initiation of the Joe
Camel campaign in 1988, the percentage of smokers under the age
of 18 who smoke Camel cigarettes has become larger than the
percentage of all adult smokers aged 18 and older who smoke
Camel cigarettes.

PARAGRAPH EIGHT: The choice of many of these children and
adolescents to smoke Camel cigarettes was also a choice to
begin smoking.

PARAGRAPH NINE: Because of the themes and techniques that
it used in its Joe Camel campaign, R.J. Reynolds knew or should
have known that its advertising and promotional campaign would
have a substantial appeal to children and adolescents below the
age of 18, as well as to its target audience.

PARAGRAPH TEN: Consumers who smoke cigarettes risk
addiction (i.e., nicotine dependency) and a number of immediate
and long term adverse health effects including, but not limited
to, coronary heart disease, lung and laryngeal cancer, oral
Cancer, esophageal cancer, chronic obstructive pulmonary
disease, and low-birth-weight babies.

PARAGRAPH ELEVEN: Many children and adoiescents do not
adequately comprehend the nature of the risk or the seriousness
of micotine addiction and the other dangerous health effects of
smoking cigarettes.

PARAGRAPH TWELVE: R.J. Reynolds's actions, as set forth
in PARAGRAPHS FOUR, FIVE, SIX, SEVEN, EIGHT and NINE have
caused or were likely to cause substantial and ongoing injury
to the health and safety of children and adolescents under the

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age of 18 that is not offset by any countervailing benefits and
is not reasonably avoidable by these consumers.

PARAGRAPH THIRTEEN: The acts and practices of raspondent
as alleged in this complaint constitute unfair acts or
practices in or affecting commerce in violation of Section 5(a}
of the Federal Trade Commission Act.

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NOTICE

Notice is hereby civen to the respondent hereinbefore
named that the day of , A.D.,

a.m. o'clock is hereby fixed as the time and the Federal Trade
Commission Offices, 6th Street & Pennsylvania Avenue, N.W.,
Washington, D.C. 20580, as the place when and where a hearing
will be had before an Administrative Law Judge of the Federal
Trade Commission, on the charges set forth in this complainr,
at which time and place you will have the right under said Acr
to appear and show cause why an order should not be entered
requiring you to cease and desist from the violations of law
charged in the complaint.

You are notified that the opportunity is afforded you to
file with the Commission an answer to this complaint on or
before the thirtieth (30th) day after service of it upon you.
An answer in which the allegations of the complaint are
contested shall contain a concise statement of the facts
constituting each ground of defense; and specific admissions.
denial, or explanation of each fact alleged in the complaint
er, if you are without knowledge thereof, a statement to that
effect. Allegations of the complaint not thus answered shall
be deemed to have been admitted.

If you elect not to contest these allegations of fact set
forth in the complaint, the answer shail consist of a statement
that you admit all of the material allegations to be true.

Such an answer shall constitute a waiver of hearings as to the
facts alleged in the complaint, and together with the complaint
provide a record basis on which the Administrative Law Judge
shall file an initial decision containing appropriate findings
and conclusions and an appropriate order disposing of the
proceeding. In such answer you may, however, reserve the right
to submit proposed findings and conclusions and the right to
appeal the initial decision to the Commission under Section
3.52 of the Commission’s Rules of Practice for Adjudicative
Proceedings.

Failure to answer within the time above provided shail be
deemed to constitute a waiver of your right to appear and
contest the allegations of the complaint and shall authorize
the Administrative Law Judge, without further notice to you, to
find the facts to be alleged in the complaint and to enter an
initial decision containing such findings, appropriate
conclusions and order.

The following is the form of order which the Commissicn
has reason to believe should issue if the facts are found to be
as alleged in the complainc. If, however, the Commission
snould conclude from record facts developed in any adjudicative

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proceeding in this matter that the proposed order provisions as
to R.J. Reynolds Tobacco Compary, 2 corperation, might be
inadeqvete to fully protect the consuming public, the
Commission may order such relief as it finds necessary or
apcropriate.

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ORDER

For the purposes of this Order:

1. "Advertising to children" shall mean any advertising or
promotion that: (1) either appears in magazines,
publications or in other media or in any promotional forms
directed to children and adolescents under 18 years of age
or, in light of its subject matter, visual content, young
models or cartoon characters, language, character or tone,
respondent knows or should know will appeal to children
and adolescents under 18 years cf age; and (2) results in
disproportionate sales to children and adolescents under
the age of 18.

2. "Disproportionate sales" shall mean that a creater
percentage of smokers (as measured by share of smokers)
under 18 years of age purchase or smoke the cigarette
brand than do all adult smokers age 18 and over (as
measured by share of smokers) during any calendar quarter,
with the first quarter beginning January 1 cf each year.

zr.

IT IS ORDERED that respondent, R.J. Reynolds Tobacco
Company, a corporation, its successors and assigns, and its
officers, agents, representatives and employees, directly or
through any corporation, subsidiary, division or other device,
in connection with the manufacturing, labelling, advertising,
promotion, offering for sale, sale or distribution of Camel
cigarettes in or affecting commerce, as "commerce" is defined
in the Federal Trade Commission Act, do forthwith cease and
desist from advertising to children its Camel brand cigarettes
through the use of the images or themes relating or referring
to Old Joe, Smooth Character or Joe Camel and/or any companion
figure or illustration associated with, used in conjunction
with or resembling the Joe Camel figure

Il.

IT IS FURTHER ORDERED that respondent, or its successors
and assigns, shall collect, maintain and make available tc the
Federal Trade Commission for inspection and copying competent
and reliable data for each brand of its cigarettes compiled at
no less frequency than monthly, consisting of:

(a) the number of cigarettes (or packages of
cigarettes) sold to all persons under the age of
18;

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{b) the share of smokers under the age of 18 for
each brand of cigarettes, by one yea. age
categories (@.g., 11, 12,....17); and

{c) the total share of smokers of each brand of
cigarettes under the age of 184.

Til.

IT IS FURTHER ORDERED that, for a period of ten (10) years
from the date of entry of this Order, respondent R.J. Reynolds
Tobacco Company shall notify the Commission at least thirty
(30) days prior to any proposed change in its corporate
structure, including but not limited to dissolution, assignment
or sale resulting in the emergence of a successor corporation,
the creation or dissolution of subsidiaries or affiliates, or
any other corporate change that may affect compliance
obligations arising out of this Order.

‘ IV.

IT IS FURTHER CRDERED that respondent R.J. Reynolds
Tobacco Company shall:

A. Within thirty (30) days of service of this Order,
provide a copy of this Order to each of its current
principals, officers, directors and managers, and to
all personnel, agents, and representatives having
sales, advertising, or policy responsibility with
respect to the subject matter of this Order; and

B. For a period of five (5) years from the date of entry
of this Order, provide a copy of this Order to each
of its principals, officers, directors, and managers,
and to all personnel, agents, and representatives
having sales, advertising, or policy responsibility
with respect to the subject matter of this Order who
are associated with it or any subsidiary, successor,
or assign, within three (3) business days after the
person assumes his or her position.

V.

IT IS FURTHER ORDERED that respondent R.J. Reynolds
Tobacco Company shall, within sixty (60) days after service of
this Order, and at such other times as the Federal Trade
Commission may require, file with the Commission a report, in
writing, setting forth in detail the manner and form in which
it has complied with this Order.

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IN WITNESS WHEREOF, the Federal Trade Commission has
caused this complaint to be signed by its Secretary and its
official seal to be hereto affixed at Washington, D.C. this

day of , A.D., 19

By the Commission.

Donald S. Clark
Secretary

SEAL

ISSUED:

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